                           UNITED STATES DISTRICT COURT FOR
                            THE SOUTHERN DISTRICT OF IOWA



          Christopher Bruce and                       Case No. 4:18-cv-00040-RGE-CFB
          Elizabeth Bruce

                                                      ORDER GIVING NOTICE OF DISMISSAL

                       Plaintiffs

          v.

          Polk County Attorney's Office, et al.




                      Defendants



The plaintiff has failed to file proof of service that a copy of the summons and complaint were served
                       Beth Walker and Anthony Reed
on the defendant(s) ________________________________ as required by Federal Rule of Civil
Procedure 4. These parties will be dismissed after 14 days unless the required action is taken or the
plaintiff files a motion establishing good cause for the failure to comply and requests an extension of
time for service within the time specified in Local Rule 41. If an extension of time for service is
requested, the plaintiff shall also file a motion to extend time for complying with the scheduling
order requirements and deadlines as required by Local Rule 16.


           A copy of Local Rule 41 is forwarded with this Order.


                 Dated this 31st day of May.



                                                  K. Nickell

                                                  By: Deputy Clerk
